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                                                                         APPEAL,EFILE,STAYED

                                   U.S. District Court
                         District of Connecticut (New Haven)
                  CIVIL DOCKET FOR CASE #: 3:19-cv-01966-KAD


Khan v. Yale University et al                              Date Filed: 12/13/2019
Assigned to: Judge Kari A. Dooley                          Jury Demand: Plaintiff
Demand: $110,000,000                                       Nature of Suit: 448 Civil Rights:
Cause: 42:1981 Civil Rights                                Education
                                                           Jurisdiction: Federal Question
Plaintiff
Saifullah Khan                              represented by Kevin Murray Smith
                                                           Pattis & Smith, LLC
                                                           383 Orange Street, First Floor
                                                           New Haven, CT 06511
                                                           203-393-3017
                                                           Fax: 203-393-9745
                                                           Email: ksmith@pattisandsmith.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Norman A. Pattis
                                                           The Pattis Law Firm, LLC
                                                           383 Orange St., First Floor
                                                           New Haven, CT 06511
                                                           203-393-3017
                                                           Fax: 203-393-9745
                                                           Email: npattis@pattisandsmith.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED


V.
Defendant
Yale University                             represented by Patrick M. Noonan
                                                           Donahue, Durham & Noonan
                                                           Concept Park
                                                           741 Boston Post Road
                                                           Guilford, CT 06437
                                                           203-458-9168
                                                           Fax: 203-458-4424
                                                           Email: pnoonan@ddnctlaw.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED




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Defendant
Peter Salovey                               represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Jonathon Halloway                           represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Marvin Chun                                 represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Joe Gordon                                  represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
David Post                                  represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Mark Solomon                                represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Ann Kuhlman                                 represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Lynn Cooley                                 represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED




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Defendant
Paul Genecin                                represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Stephanie Spangler                          represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Sarah Demers                                represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Jane Doe                                    represented by Brendan Gooley
TERMINATED: 01/07/2021                                     Carlton Fields
                                                           One State Street
                                                           Ste 1800
                                                           Hartford, CT 06103
                                                           860-392-5036
                                                           Email: bgooley@carltonfields.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           James M. Sconzo
                                                           Carlton Fields, P.C.
                                                           One State Street
                                                           Suite 1800
                                                           Hartford, CT 06103
                                                           860-392-5022
                                                           Fax: 860-392-5058
                                                           Email: jsconzo@carltonfields.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Carole Goldberg                             represented by Patrick M. Noonan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Defendant
Unknown Persons




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 Date Filed       #    Docket Text
 02/09/2021        49 PARTIAL JUDGMENT entered in favor of Jane Doe against Saifullah Khan.

                       For Appeal Forms please go to the following website:
                       http://www.ctd.uscourts.gov/forms/all-forms/appeals_forms
                       Signed by Clerk on 2/09/2021.(Gould, K.) (Entered: 02/09/2021)
 02/05/2021        48 ORDER finding as moot 39 Motion for Extension of Time. Signed by Judge
                      Kari A. Dooley on 2/5/2021. (Cahill, Leslie) (Entered: 02/05/2021)
 02/05/2021        47 ORDER granting 46 Motion for Entry of Judgment under Rule 54(b) and
                      staying proceedings pending resolution of the Plaintiff's appeal. See attached
                      Order. The Clerk of the Court is directed to enter a Judgment, pursuant to
                      Rule 54(b), in favor of the Defendant Jane Doe. Signed by Judge Kari A.
                      Dooley on 2/5/2021. (Cahill, Leslie) (Entered: 02/05/2021)
 01/26/2021        46 MOTION for Entry of Judgment under Rule 54(b) in accordance with the
                      Court's order in Dkt. 40 by Saifullah Khan. (Pattis, Norman) (Entered:
                      01/26/2021)
 01/21/2021        45 Minute Entry for proceedings held before Judge Kari A. Dooley: Telephonic
                      Scheduling Conference held on 1/21/2021. Total Time: 17 minutes(Court
                      Reporter Tracy Gow.) (Gould, K.) (Entered: 01/22/2021)
 01/15/2021        44 CLERK'S CERTIFICATE RE: INDEX AND RECORD ON APPEAL re: 43
                      Notice of Appeal. The attached docket sheet is hereby certified as the entire
                      Index/Record on Appeal in this matter and electronically sent to the Court of
                      Appeals, with the exception of any manually filed documents as noted below.
                      Robin D. Tabora, Clerk. Documents manually filed not included in this
                      transmission: none (Fanelle, N.) (Entered: 01/15/2021)
 01/14/2021        43 NOTICE OF APPEAL as to 40 Order on Motion to Dismiss by Saifullah
                      Khan. Filing fee $ 505, receipt number ACTDC-6328789. (Pattis, Norman)
                      (Entered: 01/14/2021)
 01/07/2021        42 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                      COUNSEL/THE PARTIES WILL RECEIVE.
                      Telephonic Scheduling Conference set for 1/21/2021 at 10:00 AM before
                      Judge Kari A. Dooley. Conference Line: (888) 278-0296; Access Code: 80-
                      77-899. (Cahill, Leslie) (Entered: 01/07/2021)
 01/07/2021        41 ORDER. The parties shall appear for a telephonic scheduling conference to
                      address their joint 39 motion to modify the Scheduling Order on 1/21/2021 at
                      10:00 A.M.
                      Signed by Judge Kari A. Dooley on 1/7/2021. (Cahill, Leslie) (Entered:
                      01/07/2021)
 01/07/2021        40 ORDER granting 26 Motion to Dismiss, for the reasons stated in the attached
                      Memorandum of Decision. Signed by Judge Kari A. Dooley on 1/7/2021.
                      (Cahill, Leslie) (Entered: 01/07/2021)




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 12/23/2020        39 Joint MOTION for Extension of Time -- Modification of the Scheduling
                      Order by Jane Doe. (Sconzo, James) (Entered: 12/23/2020)
 10/08/2020        38 ORDER granting on consent 37 Motion for Extension of Time. Signed by
                      Judge Kari A. Dooley on 10/8/2020. (Cahill, Leslie) (Entered: 10/08/2020)
 10/07/2020        37 MOTION for Extension of Time until 11/06/20 Discovery by Marvin Chun,
                      Lynn Cooley, Sarah Demers, Jane Doe, Paul Genecin, Carole Goldberg, Joe
                      Gordon, Jonathon Halloway, Ann Kuhlman, David Post, Peter Salovey, Mark
                      Solomon, Stephanie Spangler, Unknown Persons, Yale University. (Noonan,
                      Patrick) (Entered: 10/07/2020)
 06/30/2020        36 REPLY to Response to 26 MOTION to Dismiss filed by Jane Doe. (Sconzo,
                      James) (Entered: 06/30/2020)
 06/22/2020        35 ORDER granting 34 Motion for Extension of Time. Defendant's reply brief is
                      due on or before June 30, 2020. Signed by Judge Kari A. Dooley on
                      6/22/2020. (Cahill, Leslie) (Entered: 06/22/2020)
 06/22/2020        34 MOTION for Extension of Time until June 30, 2020 to file a Reply
                      Memorandum of Law in Further Support of Motion to Dismiss by Jane Doe.
                      (Gooley, Brendan) (Entered: 06/22/2020)
 06/12/2020        33 ORDER granting 32 Motion for Extension of Time. Defendant's reply brief is
                      due on or before June 23, 2020. Signed by Judge Kari A. Dooley on
                      6/12/2020. (Cahill, Leslie) (Entered: 06/12/2020)
 06/11/2020        32 MOTION for Extension of Time until June 23, 2020 to file a Reply
                      Memorandum of Law in Further Support of Motion to Dismiss by Jane Doe.
                      (Gooley, Brendan) (Entered: 06/11/2020)
 06/02/2020        31 Memorandum in Opposition To Jane Doe's re 26 MOTION to Dismiss filed
                      by Saifullah Khan. (Pattis, Norman) (Entered: 06/02/2020)
 05/12/2020        30 Reset Deadline as to 26 MOTION to Dismiss . Response due by 6/2/2020.
                      (Gould, K.) (Entered: 05/13/2020)
 05/12/2020        29 ORDER granting 28 Motion for Extension of Time to File Response/Reply.
                      Plaintiff's response is due on or before 6/2/2020. Signed by Judge Kari A.
                      Dooley on 5/12/2020. (Cahill, Leslie) (Entered: 05/12/2020)
 05/12/2020        28 First MOTION for Extension of Time to File Response/Reply Unopposed as
                      to 26 MOTION to Dismiss until June 2, 2020 by Saifullah Khan. (Pattis,
                      Norman) (Entered: 05/12/2020)
 04/28/2020        27 Memorandum in Support re 26 MOTION to Dismiss filed by Jane Doe.
                      (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                      Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Affidavit Declaration of Brendan
                      Gooley)(Sconzo, James) (Entered: 04/28/2020)
 04/28/2020        26 MOTION to Dismiss by Jane Doe.Responses due by 5/19/2020 (Sconzo,
                      James) (Entered: 04/28/2020)
 04/24/2020        25 ANSWER to 1 Complaint by Marvin Chun, Lynn Cooley, Sarah Demers,
                      Paul Genecin, Carole Goldberg, Joe Gordon, Jonathon Halloway, Ann




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                       Kuhlman, David Post, Peter Salovey, Mark Solomon, Stephanie Spangler,
                       Yale University.(Noonan, Patrick) (Entered: 04/24/2020)
 04/06/2020            Reset Answer Deadlines for all Defendants: Responsive Pleading due
                       4/28/2020 (Cahill, Leslie) (Entered: 04/06/2020)
 04/06/2020        24 ORDER granting 23 Motion for Extension of Time. Signed by Judge Kari A.
                      Dooley on 4/6/2020. (Cahill, Leslie) (Entered: 04/06/2020)
 04/03/2020        23 Second MOTION for Extension of Time until April 28, 2020 to Respond to
                      Plaintiff's Complaint by Jane Doe. (Gooley, Brendan) (Entered: 04/03/2020)
 03/18/2020            Reset Answer Deadlines for all Defendants: Responsive Pleading due
                       4/7/2020 (Cahill, Leslie) (Entered: 03/18/2020)
 03/18/2020        22 ORDER granting 21 Motion for Extension of Time. Signed by Judge Kari A.
                      Dooley on 3/18/2020. (Cahill, Leslie) (Entered: 03/18/2020)
 03/18/2020        21 Consent MOTION for Extension of Time until April 7, 2020 to Respond to
                      Plaintiff's Complaint by Jane Doe. (Gooley, Brendan) (Entered: 03/18/2020)
 03/04/2020        20 NOTICE of Appearance by Kevin Murray Smith on behalf of Saifullah Khan
                      (Smith, Kevin) (Entered: 03/04/2020)
 02/05/2020        19 STANDING ORDER ON JOINT TRIAL MEMORANDUM attached.
                      Signed by Judge Kari A. Dooley on 2/5/2020. (Cahill, Leslie) (Entered:
                      02/05/2020)
 02/05/2020        18 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                      COUNSEL/THE PARTIES WILL RECEIVE.
                      Telephonic Status Conference set for 3/5/2021 at 10:00 AM before Judge
                      Kari A. Dooley. Conference Line: (888) 278-0296; Access Code: 80-77-899.
                      (Cahill, Leslie) (Entered: 02/05/2020)
 02/05/2020            Set Deadlines/Hearings:
                       Motion to Amend Pleadings due by 2/24/2020.
                       Discovery due by 2/26/2021.
                       Dispositive Motions due by 3/30/2021.
                       Telephonic Status Conference set for 3/5/2021 at 10:00 AM before Judge
                       Kari A. Dooley.
                       Answer Deadlines Updated for All Defendants. Responsive pleading due
                       3/24/2020. (Cahill, Leslie) (Entered: 02/05/2020)
 02/05/2020        17 Order on Pretrial Deadlines. The Court has reviewed the Parties' 16 Rule 26
                      (f) Report. It is Approved, Adopted, and So Ordered, except that the Parties'
                      Joint Trial Memorandum shall be filed in accordance with the deadlines and
                      procedures set forth below.

                       Pursuant to Local Rule 16(b), the Court orders as follows: The Plaintiff shall
                       move to amend the pleadings or move to join additional parties by February
                       24, 2020. The Defendants shall move to join additional parties by February
                       24, 2020 and shall respond to the complaint by March 24, 2020. Discovery
                       shall be completed by February 26, 2021. Dispositive motions, if any (see
                       Local Rule 56(c)), shall be filed by March 30, 2021. The Joint Trial



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                       Memorandum shall comport with this Court's standing order, which will be
                       separately docketed. The date for filing the Joint Trial Memorandum required
                       by this Court's standing order shall be set by the Court after the close of
                       discovery.

                       A telephonic status conference is scheduled for March 5, 2021 at 10:00
                       A.M.

                       Signed by Judge Kari A. Dooley on 2/5/2020. (Cahill, Leslie) (Entered:
                       02/05/2020)
 02/03/2020        16 REPORT of Rule 26(f) Planning Meeting. (Noonan, Patrick) (Entered:
                      02/03/2020)
 01/24/2020        15 NOTICE of Appearance by Brendan Gooley on behalf of Jane Doe (Gooley,
                      Brendan) (Entered: 01/24/2020)
 01/24/2020        14 NOTICE of Appearance by James M. Sconzo on behalf of Jane Doe (Sconzo,
                      James) (Entered: 01/24/2020)
 01/24/2020        13 WAIVER OF SERVICE Returned Executed as to Jane Doe waiver sent on
                      1/9/2020, answer due 3/9/2020 filed by Saifullah Khan. (Pattis, Norman)
                      (Entered: 01/24/2020)
 01/10/2020        12 ORDER granting 7 Motion for Permission to Litigate Claims Against Jane
                      Doe Using a Pseudonym in Place of Her Actual Name without prejudice.
                      Based upon consideration of the inherently sensitive and personal nature of
                      the issues raised in this litigation, the parties' acknowledgment of the
                      Defendant Yale University's applicable policies concerning confidentiality,
                      the risk of harm and the absence of prejudice to the litigants, the lack of an
                      alternative procedure for maintaining Jane Doe's confidentiality, and other
                      relevant factors, see Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 189-
                      90 (2d Cir. 2008), the Court grants the motion to proceed by way of a
                      pseudonym. The motion is granted without prejudice insofar as Jane Doe has
                      not yet appeared in this action. Signed by Judge Kari A. Dooley on
                      1/10/2020. (Cahill, Leslie) (Entered: 01/10/2020)
 01/08/2020        11 ORDER OF TRANSFER. Case reassigned to Judge Kari A. Dooley for all
                      further proceedings.
                      Signed by Judge Alfred V. Covello on 1/8/2020.(Bozek, M.) (Entered:
                      01/09/2020)
 01/03/2020        10 NOTICE of Appearance by Patrick M. Noonan on behalf of Marvin Chun,
                      Lynn Cooley, Sarah Demers, Paul Genecin, Carole Goldberg, Joe Gordon,
                      Jonathon Halloway, Ann Kuhlman, David Post, Peter Salovey, Mark
                      Solomon, Stephanie Spangler, Yale University (Noonan, Patrick) (Entered:
                      01/03/2020)
 01/02/2020         9 Memorandum in Support re 2 MOTION for Pemission to Litigate Against
                      Jane Doe using a Pseudonym in Place of her Actual Name , 7 MOTION to
                      Proceed in Fictitious Name filed by Marvin Chun, Lynn Cooley, Sarah
                      Demers, Paul Genecin, Carole Goldberg, Joe Gordon, Jonathon Halloway,




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                        Ann Kuhlman, David Post, Peter Salovey, Mark Solomon, Stephanie
                        Spangler, Yale University. (Noonan, Patrick) (Entered: 01/02/2020)
 12/18/2019         8 WAIVER OF SERVICE Returned Executed as to Paul Genecin waiver sent
                      on 12/18/2019, answer due 2/16/2020; David Post waiver sent on 12/18/2019,
                      answer due 2/16/2020; Yale University waiver sent on 12/18/2019, answer
                      due 2/16/2020; Sarah Demers waiver sent on 12/18/2019, answer due
                      2/16/2020; Joe Gordon waiver sent on 12/18/2019, answer due 2/16/2020;
                      Peter Salovey waiver sent on 12/18/2019, answer due 2/16/2020; Ann
                      Kuhlman waiver sent on 12/18/2019, answer due 2/16/2020; Stephanie
                      Spangler waiver sent on 12/18/2019, answer due 2/16/2020; Carole Goldberg
                      waiver sent on 12/18/2019, answer due 2/16/2020; Mark Solomon waiver
                      sent on 12/18/2019, answer due 2/16/2020; Jonathon Halloway waiver sent
                      on 12/18/2019, answer due 2/16/2020; Lynn Cooley waiver sent on
                      12/18/2019, answer due 2/16/2020; Marvin Chun waiver sent on 12/18/2019,
                      answer due 2/16/2020 filed by Saifullah Khan. (Pattis, Norman) (Entered:
                      12/18/2019)
 12/16/2019         7 MOTION for Permission to Litigate Claims Against Jane Doe using a
                      Pseudonym in Place of her Actual Name - EXHIBIT by Saifullah Khan re 2
                      MOTION for Pemission to Litigate Against Jane Doe using a Pseudonym in
                      Place of her Actual Name . (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                      Exhibit)(Pattis, Norman) Modified on 12/18/2019 to change to motion
                      event/relief (Bozek, M.). (Entered: 12/16/2019)
 12/16/2019         6 ELECTRONIC SUMMONS ISSUED in accordance with Fed. R. Civ. P. 4
                      and LR 4 as to *Marvin Chun, Lynn Cooley, Sarah Demers, Jane Doe, Paul
                      Genecin, Carole Goldberg, Joe Gordon, Jonathon Halloway, Ann Kuhlman,
                      David Post, Peter Salovey, Mark Solomon, Stephanie Spangler, Unknown
                      Persons, Yale University* with answer to complaint due within *21* days.
                      Attorney *Norman A. Pattis* *The Pattis Law Firm, LLC* *383 Orange St.,
                      First Floor* *New Haven, CT 06511*. (Bozek, M.) (Entered: 12/16/2019)
 12/16/2019         5 NOTICE TO COUNSEL/SELF-REPRESENTED PARTIES : Counsel or
                      self-represented parties initiating or removing this action are responsible for
                      serving all parties with attached documents and copies of 2 MOTION for
                      Pemission to Litigate Against Jane Doe using a Pseudonym in Place of her
                      Actual Name filed by Saifullah Khan, 1 Complaint filed by Saifullah Khan, 4
                      Electronic Filing Order, and 3 Order on Pretrial Deadlines.
                      Signed by Clerk on 12/16/2019.(Bozek, M.) (Entered: 12/16/2019)
 12/13/2019         4 ELECTRONIC FILING ORDER FOR COUNSEL - PLEASE ENSURE
                      COMPLIANCE WITH COURTESY COPY REQUIREMENTS IN THIS
                      ORDER.
                      Signed by Judge Alfred V. Covello on 12/13/2019.(Bozek, M.) (Entered:
                      12/16/2019)
 12/13/2019         3 Order on Pretrial Deadlines: Amended Pleadings due by 2/11/2020.
                      Discovery due by 6/13/2020. Dispositive Motions due by 7/18/2020.
                      Signed by Clerk on 12/13/2019.(Bozek, M.) (Entered: 12/16/2019)
 12/13/2019         2




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                       MOTION for Pemission to Litigate Against Jane Doe using a Pseudonym in
                       Place of her Actual Name by Saifullah Khan.Responses due by 1/3/2020
                       (Pattis, Norman) Modified on 1/13/2020 (Gould, K.). (Entered: 12/13/2019)
 12/13/2019            Judge Alfred V. Covello added. (Walker, J.) (Entered: 12/13/2019)
 12/13/2019            Request for Clerk to issue summons as to All Defendants. (Pattis, Norman)
                       (Entered: 12/13/2019)
 12/13/2019         1 COMPLAINT against All Defendants ( Filing fee $400 receipt number
                      ACTDC-5590669.), filed by Saifullah Khan.(Pattis, Norman) (Entered:
                      12/13/2019)




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